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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
UNITED STATES OF AMERICA            )
                                    )
            v.                      )               Criminal No. 19-10081-IT
                                    )
GORDON ERNST, et al.                )
                                    )
                  Defendants.       )
____________________________________)

                       JOINT PROPOSED BRIEFING SCHEDULE ON
                        MOTIONS TO DISMISS THE INDICTMENT

         The United States of America, together with Defendants Gordon Ernst, Donna Heinel,
Jorge Salcedo, Jovan Vavic and Niki Williams, jointly move this Court to enter an order setting a
revised briefing schedule on the defendants’ proposed Rule 12(b)(3)(B)(v) motions to dismiss for
failure to state an offense. In support of this request, the parties state the following:

1.     On October 1, 2019, the Court set a briefing schedule on motions to dismiss the indictment
       pursuant to Rule 12(b)(3)(B)(v), ordering that any such motions be filed by October 15,
       2019, that the government’s opposition be filed by November 19, 2019, and that reply
       briefs be filed by December 10, 2019.

2.     On October 15, 2019, defendants Gordon Ernst, Donna Heinel, Jorge Salcedo, Jovan
       Vavic, and Niki Williams (the “defendants”) filed motions to dismiss the single RICO
       conspiracy count alleged in the then-current Indictment. [D.262–270, 274].

3.     On October 22, 2019, the government filed a 22-count Superseding Indictment. [D.272].

4.     While many of the arguments raised in the defendants’ previously-filed motions will apply
       to the Superseding Indictment, at least some of the defendants intend to revise their
       arguments as to the RICO count and to assert additional arguments relative to the newly-
       alleged counts.
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5.   Accordingly, the government and the defendants jointly propose the following revised
     schedule for briefing on Rule 12(b)(3)(B)(v) motions to dismiss the Superseding
     Indictment:

            Revised motions and memoranda             December 20, 2019

            Opposition memoranda                      January 17, 2020

            Reply briefs                              February 14, 2020


                                 Respectfully submitted,


                                 ANDREW E. LELLING
                                 United States Attorney


                           By:   /s/ Alexia R. De Vincentis
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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent electronically

to the registered participants as identified on the Notice of Electronic Filing (NEF) and paper

copies will be sent to those indicated as non-registered participants.



                                                       /s Alexia R. DeVincentis
                                                      ALEXIA R. DEVINCENTIS
                                                      Assistant United States Attorney

Date: November 14, 2019




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